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                                       TERRY PEMBERTON
                                        July 03, 2023

                                 UNITED STATES DISTRICT COURT

                                  EASTERN DISTRICT OF MICHIGAN

                                       SOUTHERN DIVISION



              JUSTIN GUY, individually and

              on behalf of those similarly

              situated,

                                  Plaintiff,
                    vs.                        Case No. 20-cv-12734-MAG-EAS

                                               Hon. Mark A. Goldsmith

              ABSOPURE WATER COMPANY, LLC,

              a domestic limited liability

              company,

                                 Defendant.




                    The Remote Deposition of TERRY PEMBERTON,

                    Commencing at 2:01 p.m.,

                    Monday, July 3, 2023,

                    Before Helen F. Benhart, CSR-2614,

                    Appearing remotely from Wayne County, Michigan.




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                                                                TERRY PEMBERTON
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                                                                       Page 2                                                                Page 4
              1   REMOTE APPBARANCBS:                                            1   Rerrote Proceedifr:}s
              2                                                                  2   M:may, July 3, 2023
              3   ANDREW R. FRISCH                                               3   2:01 p.m.
              4   Morgan & Morgan, P.A.                                          4                      1HE REFORTER:   'Itle attorneys participating
              5   8151 Peters Road                                               5        in this deposition ac:knowledJe that I am not
              6   Suite 4000                                                     6        physically present in the deposition roan. 'Ibey
              7   Plantation, Florida     33324                                  7        further ackru:wled3e that in lieu of an oath
              8   (954) 967-5377                                                 8        adninistered in person, the witness will verbally
                  afrisch@forthepeople.com
              9
                                                                                 9        declare his testim:my in this matter is uooer peral.ty
             10        Appearing on behalf of the Plaintiff.                    10        of perjury. 'Itle parties and their counsel consent to
             11                                                                 11        this arrangen-ent and 11Bive any objections to this
             12   MICHAEL O. CUMMINGS                                           12        iranner of reporting.    Please indicate your agreeaent
             13   Cummings, McClorey, Davie       &   Acho, P.L.C.              13        by stating your nane and your agreeaent on the record.
             14   1185 Avenue of the Americas                                   14                      MR. FlUSCll: Arorew Frisch for the
             15   Third Floor                                                   15        plaintiff and I agree.
             16   New York, New York 10036                                      16                      MR. ~ : Michael~ for
             17   (212) 547-8810                                                17        Defeooant. Yes, I agree.
             18   mcummingskmda-law.com                                         18                            TERRYm!BERION,
             19        Appearing on behalf of the Defendant.                    19        was thereupon called as a witness herein, and after
             20                                                                 20        having been first duly sw,m to testify to the truth,
             21                                                                 21        the whole truth and nothing but the truth, was
             22                                                                 22        examined and testified as follows:
             23                                                                 23                              EXllMINATION
             24                                                                 24   BY MR. ClM'1ImS:
             25                                                                 25   Q.   Gooo afternoon, Mr. Penilerton. You're having your

                                                                       Page 3                                                                Page 5
              1                       TABLE OF CONTENTS                          1        deposition taken wi.ch is part of a litigation COJrt
              2                                                                  2        procedure.     It I s very similar to testifying in COJrt.
              3    WITNESS                                            PAGE       3        There• s a court reporter taking down i.imat you say and
              4    TERRY PEMBERTON                                               4        will produce a transcript of that.      First of all, have
              5                                                                  5        yru ever had your deposition taken before?
              6    EXAMINATION                                                   6   A.   I have 110t, 110.
              7    BY MR. CUMMINGS:                                              7   Q.   Okay.   So as I said, it's very nuch like court
              8    EXAMINATION                                                   8        testinony. Yoo're sw:im in. You are uooer oath and
              9    BY MR. FRISCH:                                     32         9        yru \\OOld be like yru 10Jld in coort subject --
             10    RE-EXAMINATION                                               10        potentially subject to penalties for perjury if you
             11    BY MR. CUMMINGS:                                   33        11        knowingly made a false stateirent. Do you uooerstand
             12                                                                 12        that?
             13                            EXHIBITS                             13   A.   Yes.
             14                                                                 14   Q.   Okay. Gooo. Ard so sare basic grourxi rules.        Please
             15    EXHIBIT                                            PAGE      15        continue as yru•re doing to say -- m1ke veibal answers
             16    (Exhibit retained by Mr. CUmmings.)                          16        such as yes rather than ooi:ling your head or sarethin:J
             17                                                                 17         so that the coort reporter can take down clearly tAlat
             18    DEPOSITION EXHIBIT 1                               29        18        you say. Do you UDJerstand that?
             19                                                                 19   A.   Yes, I do.
             20                                                                 20   Q.   Okay. Am, also, as yoo•ve been doing, please wait
             21                                                                 21         for re to carplete my question even if the aIIS\EI'
             22                                                                 22         seeas quite obvious, again, so the coort reporter can
             23                                                                 23         take it down and your attorney could have the
             24                                                                 24         awortunity to object if necessary. Yoo uooerstand
             25                                                                 25         that as well?



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                                                                    TERRY PEMBERTON
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                                                                           Page 6                                                                      Page 8
             1    A.   Yes, I do.                                                       1   Q.   Okay.    SO it IO.lld be g:xxi at the noient to -- have
              2   Q.   Where are you currently?                                         2        you heard of the term specialist in reference to sare
              3   A,   I'm in 'l11/ bme.                                                3        of the drivers?
             4    Q.   Okay. Other than the cmp.1ter you're taking this on,             4   A.   Not that I recall I IIO,
              5        do you have any catpJting or cannmication devices                5   Q.   Or had you heard the term trainee with respect to
              6        with you?                                                        6        drivers?
              7   A,   No, 110,                                                        7    A.   I thiJlk I did bear trainee ODCe or twice.
              8   Q.   Okay. Arxi as I'm asking you questions, I \\wl.d ask             8   Q.   Did you have any sense of wiat that referred to?
              9        you not guess at the answer.       If you dJn•t kru:M, feel      9   A.   Just smeone ~• s in trainillg.
             10        free to say so.      lb.ever, if you can give an                10   Q.   Okay.    Were you a trainee or in training while - - at
             11        approximation, please do so, aba.tt this time or about          11        any time while you 11.ere \I.Orking with 1\bsopure?
             12        this long or watever it nay be. Do you uooerstam                12   A,   If it refers to that, then -- if it refers to saaecme
             13        that as \\lell?                                                 13        in trainillg, then, yes, I was in training at sane
             14   A.   Yes, I do,                                                      14        point.
             15   Q.   Is there anything g;>ing on with you that might prevent         15   Q.   Okay. !ming the tiire that you \tiUrked for Absq)ure,
             16        you frcm giving full and cmplete a.nN:!ra, mybe on              16        did you have a carrrercial driver's license?
             17        nmication or sare other distraction that \\Wld                  17   A,   Yes, I did.
             18        interfere with your ~ring questions?                            18   Q.   What type of license was it?
             19   A.   No.                                                             19   A.   I had a Class A,
             20   Q.   Now, what is your wxlerstandm3 of the case and why              20   Q.   so I would like if we could step through your
             21        you are participating?                                          21        day-to-day job activities starting the very first
             22   A.   ~ uJlderstanding is that it has -- I believe it has             22        thing when you arrived for a \\Orlcing day.        'What \ISS
             23        samt:hiDg to do with overtime payments at Absopure,             23        the first thing that you did?
             24        Other than that, I can't give a clear answer.                   24   A.   I 'W0Uld clock in.
             25   Q.   Do you recall the dates that you wrked for Absqrure?            25   Q.   Arxi wt oo you nraan by clocking in?


                                                                           Page 7                                                                      Page 9
              l   A.   Yes.    It was late February to late June I believe.             1   A,   Right near the door, right when you walked into the
              2   Q.   Of \ldlat year?                                                  2        second set of doors, there was a thing that you scan
              3   A.   Of 2022.                                                         3        your m up against right near the wall and that was
              4   Q.   Okay. What was your (X)Sition with 11bscp1re when you            4        the clock in thing.
              5        worked there?                                                    5   Q.   Okay.    Did you do that every day when you began the
              6   A.   I was a driver.                                                  6        \I.Orkday?
              7   Q.   Okay.      Could you please state your o..irrent address?        7   A.   Evmy day that I began 'lfrf workday at the yard, yes,
              8   A.                                    Hichigan.                       8   Q.   Okay. Just to confirm, you \\Orked at 1\bsopure•s
              9   Q.   were you living at that location at the time you                 9        Pl}lll'OUth facility, correct?
             10        \\UI'ked for 1\bsopJie?                                         10   A,   Yes.
             ll   A.   Yes.                                                            11   Q.   Okay. And then wiat did you do after you swiped your
             12   Q.   Arxi what \I.ere your responsibilities as a driver for          12        card after the clock in?
             13        1\bsopure?                                                      13   A.   I 'W0Uld check 'lfrf load sheet and 'l11/ route for the day
             14   A.   I .wd deliver pnx!uct,         'l'hat 1BB -- I l«JU1d ·• like   14        as well as grab 'lS1f -- 'l11f bandhe1d device. I can't
             15        thmugbout the dayl Do you want like a -·                        15        remtlber \ffla.t it I s called, but 'lfrf handbeld device and
             16   Q.   Yeah. He'll g;, throJgh rore, just a general                    16        checked through and make sure everything• s correct and
             17        description \\01ld be fine na-, arrl ~•11 g;, through bit       17        lined up with 'l11/ papeniorlt.
             18        by bit.                                                         18   Q.   What was your load sheet?
             19   A.   Just in general it was driving and deliveriJlg the              19   A.   It was •· it was just like a sheet that showed which
             20        product to cust:mers.                                           20        bay had which pmduct and along that line. I'm tl'ying
             21   Q.   Okay. Did you -- other than a general description of            21        to w:,rd it. It was a sheet that showed on 'lfrf -- on
             22        driver, did you have a specific title when you 1o10rked         22        the truck where the product was on each t:hiDg or where
             23        there?                                                          23        it should be.
             24   A.   Not that I'm aware of, unless it was driver.         That's     24   Q.   Arxi did you fill out the load sheet?
             25        the only one I miazi>er,                                        25   A.   Yes,



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                                                                   TERRY PEMBERTON
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                                                                        Page 10                                                                    Page 12
             1    Q.   An:i mm did you fill out the load sheet?                        1         item like a -- like tater ccmt:ainers, like a 12-pack
             2    A.   'Iha day before, 'ldlenever -- either the day before or         2         tater, smaller thiDgs like that, then we '1l0U1.d have to
             3         the Friday before if it's in the case of ltmdays.               3         go into the warehouse and get it.
             4    Q.   Okay. An:i you referred to a haooheld device. What              4    Q.   About how often did this occur were there wasn't a
              5        was that?                                                        5        match-up?
             6    A.   I'm not quite sure hor.f to describe it.     It's like a        6    A.   I can•t really recall.     It was inconsistent.
              7        little -- like a handheld thing bigger than a phone             7    Q.   And you said you then drove up to the front. Where
             8         with a keypad. A big bulky thing.                               8         did you drive up to?
              9   Q.   What kin:i of things did yw ck> with the haooheld?              9    A.   Right in fl'ont of the office building. Yeah, right in
             10   A.   So I '1l0U1.d cmpare it to what is an 11/ load sheet and        10        front of the main dcor, the same door that I went
             11        make sure that the amJUllt of each ptoduct like, for            11        into, walk in at.
             12        exmrple, distilled water, matched up with at was in             12   Q.   An:i on your route did you have any coffee prooucts
             13        'rrt/ handheld.                                                 13        that you took with you?
             14   Q.   Okay. An:i 1raleD did you ck> that caiparison?                  14   A.   ~ route I usually did not.
             1S   A.   Just right before -- as soan as I get in, check the             15   Q.   Okay. Arn at any tine in the m:iming in this process
             16        loads and then checlt the handheld and then right after 16                did you ever ck> any kin:i of safety inspection en your
             17        that. Right after I looked at the haDdheld I ll0Uld             17        truck?
             18        c:arpare the tx>.                                               18   A.   Yeah. Right before I start the truck you cb a
             19   Q.   What did you a:> after naking that caiparison?                  19        walk-around, checlt the engine and all that.
             20   A,   I '1l0U1.d go start 'rrtf truck, and if I had 8JrJ e00lers or   20   Q.   Okay.    Arn about how l0?Y3 did that safety inspection
             21        anything like that for the day, I would go grab those           21        take you?
             22        and load then in the truck, then count and make sure            22   A.   It '1l0U1.d take me about five minutes, if that.
             23        evmyt:hing in the load sheet was also an the truck as           23   Q.   And after you had net with the wanager by the front
             24        well.                                                           24        office and confinred the inventory on the truck, what
             25   Q.   HcM often did yw grab coolers to take with yw?                  25        happens then?


                                                                        Page 11                                                                    Page 13
              1   A.   Generalizing, I 1d say at least blo times a week for me          1   A.   '11len I'd be given the okay to go and I'd -- I'd
              2        personally for 11/ route.                                        2        usually go like right after that.
              3   Q.   An:i typically hcM many coolers m.tld that be?                   3   Q.   Okay. When did you ever ck> anythl.D:J that was called
              4   A.   I 1 11 generalize and say like blo, tx> each time.               4        cbeckin3 rut or checkrut?
              5   Q.   Was there a maxilll.m nurber that yw 1A.Ulld take?               5   A.   tlhen the -- when I would talk to the manager, they
              6   A.   If I remed>er ccrrectly, the max I ever took was like            6        would checlt me out. '11ley cb it all in one. '!hey walk
              7        six in one day, if that.                                         7        around. '11ley make sure it all matches, then they
              a   Q.   Okay. As I recall, yw just stated that you mud                   8        check me out an the thing, an the bandbeld.
              9        coopare what was on the -- you went back to your truck           9   Q.   By check ne out on the thirg, they mud ck> sarethm:J
                       aJXi carpared \\tat was on the load sheet with what was         10        on the handheld?
             11        on the truck, is that correct?                                  11   A.   Yeah. '11ley '1l0U1.d have to insert sane pasN>rds and
             12   A.   Yes.                                                            12        stuff to make sure I was good to go,
             13   Q.   'lben what did yru do after that?                               13   Q.   After that was done, what happened next?
             14   A.   After that, assuming there 'llm8 no mistakes with the           14   A.   That• s wben I would be done cbecldng out and done for
             1S        things -- with things not being loaded or similar               15        'rrtf pretrip stuff basically and then I'd be on 'rIIJ wq
             16        issues, I'd drive up to the front, and a manager is             16        to 'rrtf stops.
             17        supposed to CCl'D8 and checlt and make sure that it all         17   Q.   Okay. Do you have a sense for how l0?Y3 generally it
             18        lines up with tile papenmk, the truck and the                   18        took fron the tine that yru clocked in until the tine
             19        baDdbeld.                                                       19        you ~re able to check cut the truck?
             20   Q.   An:i wen you~ back at -- first gettiIY:J your truck             20   A.   Ptobably -- an estilllate, I'll say around max 30
             21        am it did wt natch up bet~ the handheld am ..tat                21        minutes, minimm 15, 20.
             22        was on the truck, what W'JUl.d hawen then?                      22   Q.   Okay.    Did yru ever --
             23   A.   Ne would have to drive into the warehouse and get the           23   A.   Assuming there ~ no errors on the load sheet or
             24        attention of a forlclift driver to make sure to bring           24        stuff TJam1 1 t loaded, you kna.f, a situation like that.
             25        the stuff that 11U11' t there or if it was a Sllaller           25   Q.   If there was sare kin:i of error, hcM long might you --


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                                                                        TERRY PEMBERTON
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                                                                                Page 14                                                              Page 16
              1        it take you then or did it take you then?                             1        aaybe -- hew did you refer to each route?
              2   A.   It depends OD 11CM many forklift drivers tlme are and                 2   A.   lbldays it was Saint Helen 811d Boughton Lake 811d back.
              3        11CM many other t:ruclcs had similar issues. Yeah, it                 3        Wednesday -- Tuesday' Wednesday Gaylord and Alpena,
              4        all depends OD that. I'd 91q the 11108t I've waited was               4        '11Iursday, Friday Petoskey and Cheboygan.
              5        like 30 minutes in tlme '10Uld be about the maximlm,                  5   Q.   Yru said the M:may mite. was that an overnight
              6        minimum like five minutes, so it's a bit of a spread.                 6        rrute?
              7   Q.   Okay.    Aixi you rrentioned you weren I t quite sure hCM             7   A.   ltmday night was not ovemight.
              8        often that hawened- Did it hawen ll'Ore than once a                   8   Q.   So h£M long did it take you fran the tille you left on
              9        week?                                                                 9        your route to the tiire you g:>t back to the facility?
             10   A.   It bas happened IIX>I8 than cmce a lleek, but I have also 10              A.   Onbday?
             11        gene mre than two IIOOks without it bappenillg. It was 11                 Q.   Yes, r-tmay.
             12        rather inconsistent.                                                 12   A.   ltmday I'd usually leave around six or -- I'd leave
             13   Q.   I see. '11le mite that you drove, did it have a nane                 13        the facility around 6:30 and then I'd probably get
             14        and a IltlTber?                                                      14        back about four or five, around that time.
             15   A.   I assume it did. I mudn 1 t Jcncw a t it was, thouJh.                1s   Q.   I see. Okay. Aixi for the 'l\lesday, Wednesday rrute,
             16   Q.   Either one, you don 1 t recall a nane or a Illlli:>er for            16        h£M long did it typically take you to get to your
             17        the mite?                                                            17        first stop?
             18   A.   No.     I just called it up north ?OUte.                             18   A.   No less than around three hours.
             19   Q.   I see. Aixi by up north rrute, !Jlere did you g:> on                 19   Q.   I see. After you g:>t to your first stop, h£M long
             20        your route?                                                          20        after that \IWld it take you to ro,plete the ra.rt:e for
             21   A.   Purthest north I'd 9'.> is like Cheboygan, Petoskey, and             21        the day or ccaplete what you \IWld be driving for that
             22        usually 'lfl/ first stop, the mst southern stop, '10Uld              22        day?
             23        be Beaverton or Gladwin and anywere beaam that                       23   A.   Around eight hours frm the first stop to when -- the
             24        '10Uld be Gaylord, Alpena, stuff like that.                          24        stop at the hotel, about eight hours.
             25   Q.   Was yours an overnight route?                                        25   Q.   were you able to make all the stops for that rrute on

                                                                                Page 15                                                              Page 17
              1   A,   Yes, it was.                                                          1        your -- on the first day, on the Tuesday?
              2   Q,   So please give rre a brief description of oo.i things,                2   A.   Very inconsistently. It depends OD a many stops
              3        you koow, ~ t in your route incl\Xling h£M lorr:J it                  3        they ll0Uld have and where the stops would be so
              4        took you.                                                             4        it's -- I can't give like a clear answer OD that.
              5   A.   For 'lfl/ ICUte, depending upon which one it was --                   5        It• s very illprecise.
              6                       MR. FRISCH:     I'm 9'.>in:I to ooject.    It calls    6   Q.   Be fair to say that saietiires you could ro,plete all
              7        for a narrative and it's a CXXTl)Q.IIld question, but you             7        the stops on the Tuesday and saretiires you \IWld have
              8        can answer if you urxierstand.                                        8        to -- other tiires you would have to ro,plete the stops
              9                       1BB Wl'INBSS:    So depending OD wbich J:OUte          9        on Wednesday, correct?
             10        it was, it could take -- it mud usually take just                    10   A.   I ll0Uld 91q mre often than not I would have to
             11        around 12 hours because that's -- I'd usually start                  11        cxa:plete the rest of them OD Wednesday.
             12        around six 811d end around six as well.                              12   Q.   Okay.    Aixi hCM long did it take you fran the tiire you
             13   BY MR. QM,IIll;S:                                                         13        left your hotel to the tiire you caipleted your stops
             14   Q.   I see.     b    long did -- you said depE!IXWY:J oo the              14        \tmell you had to oo so on Wednesday?
             15        rrute.     Did you drive a rnni>er of different rcutes up            15   A.   So frm \GleJl I left the hotel to like finish the stop
             16        north?                                                               16        before I head back to --
             17   A.   I drove -- I ll0Uld usually have -- they 111ere usually              17   Q.   Yeah, before you head back.
             18        rather similar, but there was three distinct i:outes.                18   A.   Two, three hours.
             19   Q.   b      often did you drive each of these three different             19   Q.   Okay. AM hcM !!Uch tiire would it take you then after
             20        rrutes?                                                              20        the last stop on a Wednesday to head back?
             21   A.   Every week.                                                          21   A.   Two and a half or three hours.
             22   Q.   So you drove three tirres? You lli3de three rcutes every             22   Q.   I see.    HcM aboot -- I'll see if I'm gettin:J it right.
             23        week?                                                                23        Is it correct you had a Friday, Saturday rrute? Did I
             24   A.   Yes.                                                                 24        hear that correctly?
             25   Q.   Okay.     Aixi a t i,.ere the -- mybe for each route                 25   A.   'Dmsday, Friday.


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                                                                   TERRY PEMBERTON
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              1   Q.   'lbursday, Friday, excuse rre.   So for the 'Ibursday,           1    A.   Yes. Yeah. When I would go back to get the eapty
              2        Friday route, hCM long did it take you to reach yoor             2         racks unloaded, they would also scan in with 'lit/
              3        first stop?                                                      3         handheld.
             4    A,   Kaximum four hours. Depends 011 which way tbey                   4    Q.   I see. So was this -- wou1d this occur before ycu
              5        dispatched me, wich direction they did.                          5         haooed in your papenork?
              6   Q.   was it further away than the Tuesday, Wednesday?                 6    A.   Yeah. Yeah. I'm sony. I think I mixed those tw:>
              7   A.   Usually, yes.                                                    7         up. I would go to the warehouse first and then the
              8   Q.   Okay.   Arxi for the 'Ihursday, Friday roote, 11ere yru          B         papenork and stuff would be brought up to the front.
              9        able to carplete all of the stops on the first day?              9    Q.   Oh, I see.
             10   A.   No, almost never.                                               10    A.   Sony.     It's been a while.
             11   Q.   Okay. Arxi fran the -- I guess fran tine -- to t1'ake it        11    Q.   Uooerstood.  Now, gettID3 back, after you ham in your
             12        sinpler, fran the tine you left the Plyncuth facility,          12         papen.ork -- you ham in your papen.ork. You han:Jed
             13        the tine you made it to yoor ootel, hCM long wou1d              13         back the handheld, am i.mat did you d::> after that
             14        that typically be for the -- this third roote?                  14         again?
             15   A.   It would usually be around 11 or 12 hours.                      15    A.   After the haDdheld would be put back, I would fill out
             16   Q.   Arxi hCM llUCh tine on the foll~ day fran the titre             16         'lit/ load sheet for the following day.
             17        ycu left your hotel to the tine ycu nede it back to             17    Q.   Okay. At any titre did you ireet with a nmiager after
             18        Pl~th, hCM IIllCh would that be?                                18         getting back?
             19   A.   Six or seven hours.                                             19    A.   So they -- yes. 'lhey'd print out the load sheet for
             20   Q.   Okay.                                                           20         me and tell me 'lit/ route for the next day.
             21   A,   Hinimmi.                                                        21    Q.   I see. Arxi gettID3 to them when you drove yoor truck
             22   Q.   For this third route, hCM mny stq,s did you rrake               22         to the back arxl tret with the wareoouse personnel, did
             23        total both days?                                                23         ycu d::> anything with the hamheld at that tirre?
             24   A.   I do not recall.                                                24    A.   Yeah.    They would -- I'm not sure exactly wat they
             25   Q.   ro you have airf recollection for the secom roote, the          25         did,     I believe they just checked it in and ccmfimed


                                                                        Page 19                                                                     Page 21
              1        Tuesday, Wednesday route, hCM mmy stq,s you made?                1         the nudlers like as they were pulling it off.
              2   A,   No, I can't ranmi>er that for those routes.                      2    Q.   Okay. Arxi when you confirmed the rnmiers, is that
              3   Q.   Okay. ltM, gettin:J back for all the routes, when                3         saiething that was done with the hamheld?
              4        ycu -- i.mat occuned when ycu n'ade it back to                   4    A.   Yes.
              5        Pl~th?                                                           5    Q.   Okay. Arxi you trentioned the 1,,0rd check in. Did any
              6   A.   I would •• I'd go in.     I'd hand in 8frf checks or cash        6         of the process you d::> with the haooheld, was that ever
              7        into the -- I don't know a t position -- I assume a              7         called chec:kin3 in?
              8        clerk as wl as all the -- sorry. I'm aying to                    B    A.   I believe so, yeah.     Or checking out.    I can't recall
              9        recall the mrds. As well as all -- like all the                  9         which --
             10        receipt like papers that I bad printed out fran all             10    Q.   Okay.     Nc:M, you n-entioned that -- earlier that yru had
             11        the drop-offs.     They'd check tlu:ough.   'lhey 1d check in   11         driven back to the back after you had turned in your
             12        'lit/ handheld dsrice and then I'd be •• I 1d fill out 'lttf    12         load sheet.     Is that still correct or 'h'ere you mixing
             13        load sheet for the next day and then I'd take the               13         up your sequence?
             14        truck back to the back and get all the eapties                  14    A.   Yeah.     I mixed up.   The office \r,OUld be after I g:>t --
             15        unloaded, fill up rrtf gas while I'm there and then park 15                sony.      I'd go to the office after fueliJlg up and
             16        'fll/ truck and then head up to the front and clock out         16         getting checked out in the warehouse and then parking
             17        and be done for the day.                                        17         rtl/ truck and then I cb the office stuff.
             18   Q.   So is it correct then ycu '«Jlll.d ham in the papenmk           18    Q.   FueliIY:J ycur truck, when did you oo that alorr:J the
             19        £ran the route arxl ham in your haooheld prior to               19         sequence?
             20        takiIY:J the truck to the back of the facility?                 :20   A.   On lJ'tJ way to the warehouse. You have to pass by the
             21   A.   I would, yes.                                                   21         gas puq, while you I re going to the warehouse.
             22   Q.   At any tine -- when ycu cane back fran your routes,             22    Q.   Okay. Was your truck a diesel truck?
             23        did you rreet with warehruse facilities to confirm the          23    A.   Yes, mim 'WaS.
             24        inventory you still had on your truck or the enpties            24    Q.   Arxi so you did the fueling before you net with the
             25        you still had on your truck whm you g:>t back?                  25         warehouse personnel to confirm the inventory on the


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                                                                          Page 22                                                                Page 24
              1        truck, is that correct?                                        1   A.   Joe and Hike.
              2   A.   Yes.                                                           2   Q.   Do you kocM recall Joe's nane or Mike's nane?
              3   Q.   So retumiD3 back to the load sheet then, is there              3   A.   I don• t reme:iber their last names, no.
              4        anything you did after haming in the load sheet?               4   Q.   '1be page before this actually is an e-nail.        I'll bla.,
              S   A.   I t:hiJlk after that I'd just cloclt out.                      5        it up a little bit so you can see it.       I see there's a
              6   Q.   HcM did you haoo in ywr load sheet?                            6        nan-e. It's an e-nail fran a none®absopure to a
              7   A,   I'd give it to -- I don't know wat tbey 1d be referred         7        Michael Mc:Whinnie. Do you recall if that was the nane
              8        to, one of the office mployees. I'd hand it to them            8        of the nanager?
              9        and that was it.                                               9   A.   Yes,
             10   Q.   Okay.   was your -- oo you happen to kocM whether or          10   Q.   And are you aware of any - - have you ever seen an
             11        not your load sheet was scanned in with a scanner             11        e-crail like this fran an ad::iress called
             12        at --                                                         12        none®absopure. can?
             13   A,   I donIt recall.                                               13   A.   Not that I recall, no.
             14   Q.   Okay.   I• m going to put up a oocurrent aIXi I 111           14   Q.   Okay.     Ha.eJer, truck -- is it correct, though, that
             15        probably   seoo it aroom as an exhibit. Please give rre       15        truck 422 was your truck?
             16        a second here.     I'll p.it it on the screen in a minute     16   A.   For the -- yeah. That was 'tl1f usual truck.
             17        so just be patient.     And I'm going to ask yoo whether      17   Q.   And just to confirm, the date on this e-trail,
             18        or not }Ql've seen it, l:.ut give ue a minute ard I'll        18        April 11, 2022, that was during your enplO)llleilt period
             19        p.it it up on the screen.                                     19        with AbsopJie, correct?
             20                    MR. ro,t,IIllE:   I will state for the record     20   A.   Yes.
             21        this is a series of oocurents, the whole dxurent.             21   Q.   Okay. And oo yoo recall -- can yoo recall typical
             22        'Ibis is only one pag: of it, rut the \rmle d:x:ull:nt        22        tiaes or ~ of tiaes that you no:mally coopleted
             23        has been proouced in the case ard bears the Bates             23        your load sheet for the day?
             24        nuroers 5489 to 5530.                                         24   A,   '11lat I caiplete 'lfl/ load sheet?
             25   BYMR. ~ :                                                          25   Q.   Yeah.     On the days you returned, I kocM sate days you


                                                                          Page 23                                                                  Page 25
              l   Q.   Mr. Penilerton, oo yoo IeCOCJ!llze this oocurent?              1        didn't return, but on the days you returned, is there
              2   A,   Yes.                                                           2        a typical titre or typical titreS that you can recall?
              3   Q.   And what is it?                                                3   A.   For tbe ovemight shifts, yes. It was axound three or
              4   A,   This is the load sheet.                                        4        4:00. For the ltmday shift it was around 6:00 I
              5   Q.   Okay.   And so that is ywr nane on it?                         5        t:lwlk.
              6   A,   Yes.                                                           6   Q.   'lbree or 4: 00 you said for the r-tm::Jay shift?
              7   Q.   Okay. And the haidm:iting that's on the oocurrent, is          7   A,   No, for the ovemight shifts, the Wednesday and
              8        that sarething that you tr.Wld have filled out?                e        Friday.
              9   A,   Yes. It's usually saDething that I fill out.                   9   Q.   I see.     I uroerstaoo.   Okay. So I'm going to scroll
             10   Q.   Okay. And just a coople of thin3s. It says route              10        to this.     It looks -- according to this, r-t>ooay,
             11        11007 northeast. Does that mm:,er sound familiar?             11        April 11. April 11 was in fact a r-tm::Jay ard so that
             12   A,   It doesn It ring &rr/ bells.                                  12        on ?t>ooay if this is accurate, then that was ywr
             13   Q.   Okay. And also gives a truck nutber that •s                   13        siIY3le day route, correct?
             14        baJmitten in.       It says 422.     Does that riIY3 airj     14   A.   Yes,
             15        bells? Do you recall that at all?                             15   Q.   I 'm goiIY3 to scroll cbln.    '1bere I s aoother e-nail.
             16   A.   Yes. '11lat was 'lfl/ usual truck.                            16        'Ibis says Wednesday again with Michael l-t"Whinnie aIXl
             17   Q.   Okay.   I notice that a truck mmber that appears to be        17        truck 422.     I'm going to go ch.n to that load sheet.
             18        1111 was crossed wt.      Did you ever drive a truck with     18        I can crake it bigger or smaller as you prefer or
             19        the nmiler 1111?                                              19        scroll thrru;h it.     Do you recOCjilize this dxl.1rent I'm
             20   A,   No.                                                           20        ~ now,          wich, for the record, is Bates numer
             21   Q.   Okay. And I'm going to scroll ~ sare pages                    21        5492?
             22        here.   lbl, may I ask, oo you recall at the tiae \rm         22   A.   Yeah, it looks like a load sheet as "'811.
             23        i.ere -- who was the manager or the rranagers that you        23   Q.   I notice that this is for -- it looks like it's for a
             24        'lr«)rked with in the -- when you returned yoor truck for     24        different day of the week than the other load sheet,
             25        day?                                                          25        but it gives the sil!le route 11007 northeast. ro yru


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              1        recall if all the different rootes that you drove, the        1        there. Time's usually also the five gallon spring cm
              2        three different r:ootes, did they have a camon nane or        2        that :route as wn.
              3        nutber that you recall?                                       3   Q.   It 's sooething often taken that was not on this
              4   A,   I oon•t recall, no.                                           4        particular load sheet.     Is that what you're saying?
              5   Q.   Okay. And scroll thrrugh -- there's several, aaybe 20         5   A.   Yes.
              6        of them total here.      '1be next one caning oown is         6   Q.   And I noticed none of these particular load sheets
              7        dated -- oow I want -- accordiIY:J to this e-rreil --         7        listed any coffee procmcts that I can see, is that
              8        I'll scroll back up.      It says -- the e-mil in front      8         correct?
              9        of it says Wednesday, April 13th, but the load sheet          9   A.   Con:ect.
             10        that's next to it, aoo I'm oot ~ any                         10   Q.   Did you ever take any coffee products on your route?
             11        associaticms, says -- has a date on it for April 14th.       11   A.   OD this mute, I don't recall ever having done that on
             u         In general the load sheet -- my question is in general       12        this IOUte,
             13        for the load sheets that you filled out, 1,,00}_d the        13   Q.   '1be 'lbursday -- this is the 'lbursday, Friday roote,
             14        date on the load sheet reflect the f o l ~ date that         14        correct?
             15        you'd be g:>ing on your route or the sane --                 15   A.   On any of the up north mutes, the ovemights.
             16   A,   I believe that's a t it is, yes.                             16   Q.   Did you ever nm other routes than the up north
             17   Q.   And 11ere there significant different -- wat                 17        rootes?
             18        prodllcts typically let's say that you took typically        18   A.   A few tlmes, yes.
             19        on your t-tmday route?                                       19   Q.   And what were those routes?
             20   A.   lblday ll01ild usually be distilled sprmJ and Primo          20   A.   I dcn't recall. I can't mne:iber the cities that they
             21        ll01ild be the main ones.                                    21        were in.
             22   Q.   And these are water procmcts?                                22   Q.   And did you drive different trucks when you were on
             23   A.   Yeah, the five-gallcn water bottles,                         23        those routes?
             24   Q.   And I •m g:>ing to g:> back up to the first load sheet       24   A.   Not specifically if I W.S on those IOUtes.
             25        that we talked aboot, which, for the record again, is        25   Q.   Do you have any recollection of how often you ran the


                                                                       Page 27                                                                Page 29
              1        5490, aoo this reflects the type of prooucts that you         1        other rwtes other than the up north routes?
              2        IIWld take on your MJooay rrute?                              2   A.   Not very often. I can I t put a mmber to it. It \rli18
              3   A,   Yes. And the last tm wm:e not always there.                   3        not very frequent.
              4   Q.   Okay.  '1be last t\lAJ rreani.IYiJ -- it says Jmso premiun    4   Q.   Okay. Very good.      we•ll stop sharing this docurent.
              5        16.9 ounce, 24 ca.mt aoo glass bottles were not always        5                      When you were working for Jmsopure, hCM
              6        there, is that correct?                                       6        were you paid? Excuse rre.      I'm g:>ing to rephrase the
              7   A,   Yes, con:ect.                                                 7        question.     Forgive tre. HcM was your pay calculated
              8   Q.   Going dcMn to the next load sheet, for the record this        8        when \I.Orked for Absopure?
              9        is Bates rn.mters 54 92, are these the type of prcxlucts      9   A.   I believe it was like a flat rate per day and then we
             10        that -- shc,,,in on this 1013 that you typically took with   10        eamed sane -- we eamed an aUDUnt for evmy bottle w
             11        you on your Tuesday, Wednesday routes?                       11        delivered.
             12   A.   Similar to the last cne, only the first -- those first       12   Q.   Okay. And what was that arrount that you eamed for
             13        four, the Jbsc:pure distilled, five gallon, Absopure         13        every bottle that you delivered?
             14        spring five gallon, Prim drinking five gallon and the        14   A.   I do not recall,
             15        Absopure drink five gallon are the only ones that were       15   Q.   Okay. And you do have -- ncM, do you recall what your
             16        consistently there.                                          16        flat rate was for the day?
             17   Q.   'ltie other ones were saretines?                             17   A.   I do not recall, no.
             18   A,   Yes.                                                         18   Q.   Okay.     Give tre a mirute.   I'm going to put aoother
             19   Q.   And g:,in;J <b.irl to the next load sheet here, aoo          19        ckx:l.ment - -
             20        I'll -- for the record it is Bates mmi:Jer 5494, again,      20                      MR. ~ : By the way, court reporter,
             21        it has a list of products.      Is this list of procmcts     21        that last docunent that I just put up, could yoo enter
             22        typical for yoor 'Ihursday, Friday - - your thini r:oote     22        that as Exhibit 1. I will e-m1il it to you when we're
             23        of the week?                                                 23        done here.
             24   A,   Similar to the last -- similar to the last ones,             24                      RIM1I'ELY IN'moDOCBD:
             25        distilled and the tm drinking waters are usually             25                      osrosmON EXHIBIT 1



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                                                                        Page 30                                                                    Page 32
              1                    2:40 p.m.                                             1        there anything frcxn that point fotward that \\O\lld rrake
              2   BYMR. ro.t-mm:                                                         2        your tirre longer until you finally left for the day?
              3   Q.   Give ne a minute am I will get to another <X>Cllleilt.            3   A.   '11len no. If it's after that, then no. Nothing mud
              4        can you see this dxunent on the screen?                          4         really make it longer.
              5   A,   Kind of, yeah.                                                    5   Q.   Am do you recall if you received any kind of
              6   Q.   Okay.   It 1 s kind of a long, wide cbculrent.   I '11 blC7,tl    6        carpmsation that was called a bonus?
              7        it up aoo we'll slK:M the left half of it at the nment            7   A,   I denIt recall.
              8        if that I s okay. H:Y.rl, for the record here, I am -- the        8   Q.   Okay. Am oo you recall if you received any
              9        cb:urent -- this is one page of a cb:urent bearing                9        carpmsation for installing or rerroving water coolers?
             10        Bates nutters 4936 throu3h 4945. 'Ibis particular                10   A.   I don't believe I ever got a bonus for that, no.
             11        sheet, I will scroll d:Mn here, it bears the Bates               11   Q.   Okay.   Really that's all the questions I have.
             12        nurber 4936.     Am can you see the 'AOrds aoo nurbers on        u                     MR. FRISOi:     Okay.    I just have a few
             13        this portion of the cb:urent?                                    13        follC1,t1-up questions.
             14   A.   ~-                                                               u                                ElWfINATION
             15   Q.   Okay.   I'm g,ing to scroll over to the right so we get          15   BY MR. FRISCR:
             16        the woole thing here since it's blCMn up.        I'll scroll     16   Q.   Mr. Pentlerton, did you ever drive a van when you were
             17        it back cbln.      Have you seen this oocurent before?           17        ooing your deliveries?
             18   A,   I den It recall.                                                 18   A.   I did a few times, yes.
             19   Q.   Okay. Have you ever heard of a cbment or piece of                19   Q.   Okay. Am that would have been a van weighing less
             20        paper called a camlission sheet?                                 20        than 10, 000 pouros?
             21   A.   Not that I recall, no, not by that name.                         21   A,   I believe so, yeah.       Tbat 1s a Sprinter van I believe,
             22   Q.   Did you ever receive any kind of dxunent shl::M.ng hCM           22        yeah.
             23        nuch nmey that you made in aalition to your flat rate            23   Q.   When you did drive such a vehicle, did you drive it
             24        for the day?                                                     24        for the entire day as you~ doing your route or if
             25   A.   I don't m'llel.'lber. I apolcghe.                                25        it was an overnight route I guess t'AO days?


                                                                         Page 31                                                                    Page 33
              1   Q.   Okay.   'Ibat •s fine. 'Ibat •s actually -- I'm very glad         1   A.   I believe so, yeah.
              2        you say if you can rererber or not.      It's nuch better         2   Q.   Yru said earlier when defense coonsel asked you
              3        than trying to guess or speculate.      Okay. We can stop         3        about -- a question aboot wt you umerstcxxi the case
              4        sharing that dxunent at the nment.                                4        to be about, you said it was about overtitre
              5                    Getting back to -- forgive ne if I •ve                5        carpmsation, right?
              6        already asked this, but art CM1 notes aren't clear.               6   A.   Yeah.
              7        'When you arrived back at the facility after any of               7   Q.   Am this -- is it your uooers~ that you ~
              8        your routes during the week, fran the tine that you               8        never paid overtine cming the pericxi of tine you were
              9        went back you conf imed you net -- stq, ne if I 'rn               9        enployed by Absopure despite the fact you i,,orked over
             10        ll,ltting 'AOrds in your IIDlth, !Jut fran the tirre you         10        40 hours a week?
             11        \!et -- brcught the car back, you net with warehouse             11   A.   '11lat is rrt/ understanding, yes.
             u         personnel aoo coofimed on the ~ l d the inventory                12                     MR. QM,IIIDS: C'bjection.
             13        am enpties you had on your truck, fran that point                13   BY MR. FRISCR:
             14        tmtil the tirre you left for the day, you filled out             14   Q.   Is that wt -- so you believe that you have unpaid
             15        your load sheet am left for the day, hCM long did                15        overtine carpensation you •re seeking in this case?
             16        that process typically take you?                                 16   A.   0>uld you repeat the question.
             17   A.   Aiound 30 minutes.                                               17   Q.   Is it your uooerstanding that you're seeking unpaid
             18   Q.   Did it saretines take longer?                                    1B        overtine cmpensation in this case?
             19   A,   It did saretimes take longer, yes.                               19   A.   Yes,
             20   Q.   Were there any factors that wwld make it take 1003&?             20   Q.   I have nothing further.
             21   A.   Yes. If warehouse pers0llD8l 1.1ere UDaVailable or if            21                     MR. ~ =           I just have a couple
             22        they wre just takmJ 1anger.                                      22        questions based on that.
             23   Q.   By talci.n':J 1 ~ , I'm talking fran the tine that you           23                             RE-El@.MINATION
             24        net with the warehouse personnel am confinred on the             24   BYMR. ~ :
             25        haooheld the inventory. Fran that point forward, was             25   Q.   Did you ever drive a Sprinter van on your overnight


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              l        routes?                                                         l   JUS!IN GOY, individually and
              2   A.   On tbe overnight mute, no.                                      2   on behalf of those similarly
              3   Q.   Did you ever drive a Sprinter van on your tolday                3   situated,
              4        route?                                                                                 Plaintiff,
              5   A.   On 'ffl/ -- no.    1tf nomal ltmday mute, no.                            vs.                         Case No. 20-cv-12734-MAG-EAS
              6   Q.   Uooer wat circtm1tances ~ d -- did you drive the                                                    Hon. Mark A. Goldsmith
              7        Sprinter van?                                                   7   ABSOPURE WATER COMPANY, LLC,

              8   A.   In tbe cases where I was doing &a11e0ne else's route,           8   a domestic limited liability
              9        when they t«>Uld have me do miother Eq)loyee• s mute.           9   company,
             10   Q.   I see. Wcw.d that -- ck>i.IY:J that route be in place of      10                       Defendant.
             11        ck>i.IY:J one of your non,al up north routes?                 11
                                                                                           ------------'
             12   A.   Yes.                                                          12                      VERIFICATION OF DEPONENT

             13   Q.   Did you ever use that van on a ~ dly, like on a               13

             14        Saturday?                                                     14                       I, having read the foregoing examination
             15   A.   I don't think so, no.                                         15         under oath consisting of my testimony at the
             16                     MR. OMIDm: Okay.         I'm ck>ne with the      16         aforementioned time and place, subject to the changes
             17        questions.                                                     17        in the attached errata sheet, do he:-eby attest to the
             18                     MR. f1USOI:     I have oo further foll<M-up.     18         correctness and truthfulness of the transcript.
             19        He' 11 read airl also the one this irorning, we didn't        19
             20        talk about whether he mud read or waive, both of              20

             21        them ~ like to read their depositions.                         21

             22                     MR. ClM>filG;: No oojection.                     22

             23                     MR. f1USOI:     Yw can send us the transcript    23

             24        airl then we'll get it to them.                               24                        TERRY PEMBERTON

             25                                (Deposition conclooed at 2:48 p.rn.   25                         Dated:



                                                                        Page 35                                                                    Page 37
              l                          Signature of the witness was requested.       l                                 ERRATA SHEET
              2                                                                        2   PAGE LINE READS                              PAGE LINE SHOULD READ
              3                                                                        3
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             25                                                                       25




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                                                                      Page 38
              1                           CERTIFICATE OF NOTARY
              2   STATS OF HICIIIGIIN )
              3                       )   ss
              4   COUNTY OF WAYNE     I
              5

              6                     I, HBLBN F. BBNHART, certify that this
              7   deposition was taken remotely before me on the date
              8   hereinbefore set forth; that the foregoing questions
              9   and answers were recorded by me stenographically and
             10   reduced to computer transcription; that this is a
             11   true, full and correct transcript of my stenographic
             12   notes so taken, and that I am not related to, nor of
             13   counsel to, either party nor interested in the event
             14   of this cause.
             15
             16
             17

             18

             19
             20
             21
             22                             HELEN F. BENHART, CSR-2614
             23                             Notary Public,
             24                             Wayne County, Michigan.
             25        Hy Commission expires:      7/7/2027




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